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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW MEXICO


DAVIDSON OIL COMPANY,               §
                                    §
Plaintiff,                          §
                                    §
vs.                                 §     Case No. 1:20-CV-00838-RCB-JHR
                                    §
CITY OF ALBUQUERQUE,                §
                                    §
Defendant.                          §



DEFENDANT’S MOTION FOR PARTIAL SUMMARY JUDGMENT AS TO DAMAGES
                 AND SUPPORTING MEMORANDUM




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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO

DAVIDSON OIL COMPANY,                                §
                                                     §
Plaintiff,                                           §
                                                     §
vs.                                                  §       Case No. 1:20-CV-00838-RCB-JHR
                                                     §
CITY OF ALBUQUERQUE,                                 §
                                                     §
Defendant.                                           §



DEFENDANT’S MOTION FOR SUMMARY JUDGMENT IN WHOLE OR IN PART AS

                     TO DAMAGES AND SUPPORTING MEMORANDUM



        COMES NOW, the City of Albuquerque, Defendant, (“the City” or “the Defendant”)

through counsel, and hereby moves for partial summary judgment on the element of damages in

the claim of breach of contract claim because of lack of proper proof for damages. As further

grounds for this motion1 Defendant states:

                                           I. INTRODUCTION

        Even if Davidson Oil Company (“Plaintiff”) were to avoid summary judgment on the issue

of whether the contract was properly terminated by the City, in order to prevail Plaintiff must prove

damages to an acceptable degree of certainty as a necessary element of its breach of contract claim.

This Plaintiff cannot do given the evidence adduced.




1
  As allowed by D.N.M.LR-Civ. 7.5(a), the City combined this Motion with the memorandum in support thereof.
Moreover, as required by D.N.M.LR-Civ. 7.1(a), the City attempted to settle this motion before it was filed.
Undersigned counsel contacted Plaintiff's counsel via (telephone) on March 9, 2022 to determine if the motion was
opposed. As of the filing of this Motion and Plaintiff opposes the motion

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        New Mexico law recognizes three (3) types of damages in contract cases: general or

direct damages, which would give the plaintiff whatever value he or she would have obtained from

the contract if it had not been breached (loss of profit); consequential or special damages, which

are not based on the capital or present value of the promised performance but upon benefits it can

produce or losses that may be caused by its absence (recoverable only in special circumstances not

applicable in this case); and incidental damages, which include costs incurred in a reasonable

effort, whether successful or not, to avoid loss, as where a party pays brokerage fees in arranging

or attempting to arrange a substitute transaction. Plaintiff has not alleged incidental damages.

        The obstacle which cannot be overcome to Plaintiff’s recovery of general or direct damages

arises from the fact that the Contract did not require the City to purchase any specific amount of

fuel from Plaintiff. The Contract did not even require the City to purchase bulk fuel exclusively

from Plaintiff. Critically, Plaintiff failed to undertake any economic study to calculate the City’s

elasticity of demand for fuel. Thus, Plaintiff cannot show how much fuel the City would have

purchased from Plaintiff at the inflated price called for in the Contract. Plaintiff calculated its

profit as two (2) cents for each gallon of fuel oil sold to the City, plus about one (1) cent per gallon

for transportation cost. Without knowing the City’s elasticity of demand for fuel during the period

in question, it cannot be known how many gallons of fuel oil the City would have purchased at the

Contract price. In addition, without knowing how many gallons of fuel oil the City would have

purchased at the Contract price, it is impossible to calculate any profit Plaintiff may have made on

transportation fees. Any amount claimed would be pure speculation or conjecture and cannot be

supported by evidence.

        As to the other monetary claims of damages made by Plaintiff, such damages were not

contemplated by the parties at the time of the signing of contract. Plaintiff had agreed to only being


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compensated for goods or services delivered to or accepted by the City prior to the effective date

of any termination for convenience.

        Ultimately, Plaintiff would have lost money on its hedge contracts with or without the City

Contract in place. These hedge contract losses and the other costs to Plaintiff that resulted from

them are not explicitly discussed in the Contract and were not contemplated by the parties at the

time of the signing of Contract. In fact, the City was not wholly aware of Plaintiff’s hedge

contracts until after the Contract was terminated.

                             II. UNDISPUTED MATERIAL FACTS

1.      Plaintiff voluntarily participated in a procurement process to provide the City with

bulk fuel (diesel and regular unleaded gasoline). Complaint [Doc. 1] at ¶¶ 9-10.

2.      On or about January 21, 2020, the City and the Plaintiff entered into Contract No.

SHR000022076 (the “Contract”). Compl. [Doc. 1] at ¶ 11.

3.      The Plaintiff did not attach a copy of the Contract to its Complaint. A copy of the

contract is attached hereto as Ex. A.

4.      The Contract covered a twelve month period with deliveries to begin on July 1, 2020, and

continue to June 30, 2021. Ex. A, pg. 1

5.      The Contract did not require the City to purchase its fuel from the Plaintiff exclusively. Ex.

A in its entirety.

6.      The Contract did not require the City to purchase any specific amount of fuel from the

Plaintiff. Ex. A in its entirety.

7.      The Contract contains a Termination for Convenience clause which states:

        11. Termination for Convenience: City may terminate the Contract at any time by
        giving at least 60 days’ written notice to the Vendor. In such event, vendor shall be
        paid under the terms of the Contract for all goods and/or services provided to and
        accepted by City, if ordered or accepted by City prior to the effective date of

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       termination.

Compl. [Doc. 1] at ¶ 13; Ex. A, at ¶ 11.

8.     Plaintiff never sought prior approval for any goods and/or services prior to the effective

date of termination.

9.     The City gave notice to Plaintiff of termination of the contract for convenience on March

19, 2020, which terminated the Contract sixty days later on April 19, 2020.

10.    During the procurement process, Plaintiff calculated it would make two cent profit per

gallon of fuel sold to the City. See Ex. B, Boydstun Dep. 11: 3-12.

11.    During the procurement process, Plaintiff calculated that with a two (2) cent per gallon

profit, it would make approximately $107,000.00 of profit over the entire contract period by the

sale of fuel and an additional profit of $68,000.00 on transportation costs for an approximate total

profit of $ 785,465.00. Id. at 44: 24-25.

12.    The two (2) sample years Plaintiff used to estimate this profit were ones prior to 2020 in

which there was no worldwide pandemic going on. Id. at 14: 5-10.

13.    Plaintiff estimated, based on the two (2) sample years, that the City would purchase a

monthly average for the gasoline, of 155,117 gallons, and for diesel, 293,079 gallons, for a total

of 5,378,352 gallons of fuel for the entire contract period.

14.    Plaintiff did not do a statistical study to determine the risk or statistical likelihood that the

City’s usage of fuel oil might deviate significantly from the two sample years. Id. at 22:23, 23:20-

25, 24:1-3.

15.    Plaintiff purchased 12 monthly hedge contracts, on January 31, 2020. Id. at 17: 2-7.

16.    The purchase of these hedge contracts by the Plaintiff were without the knowledge,

consent, permission or participation of the City. Ex. C Aff. Sanjay Bhakta


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17.     Plaintiff lost $601,858.99 on those hedge contracts. Ex. B, Boydstun Dep. 24:18-20.

18.     Plaintiff did not make an economic study of the City’s price elasticity of demand for fuel

during the contract period nor an economic study of the City’s income elasticity of demand for

fuel but admits that the City’s elasticity of demand was not totally inelastic. Id. at 37: 24-25, 38:1-

25, 39:1-17.

19.     Plaintiff did not do a study of the City’s sources of revenue or how an unexpected change

to those sources might have income/revenue elasticity of demand for fuel during the contract

period. Id. at 39: 3-12.

20.     The City has not tried to calculate the City’s elasticity of demand for fuel during the

contract period but is certain that if forced to buy at a higher price, the City like any other rational

consumer would have reduced its consumption of fuel not only due to price sensitivity but also

due to sensitivity to the threat of budget revenue reduction. Ex. C Aff. Sanjay Bhakta ¶ 11

21.     For the first 6 months of COA’s 2021 fiscal year, which spanned the period from July 1,

2020 through December 31, 2020, the City consumed 1.5 million gallons of diesel fuel at an

average price of $1.45 per gallon, for a total cost of $2.1 million, excluding fees and taxes. For the

same period, COA also consumed 1.0 million gallons of gasoline at an average price of $1.44 per

gallon, for a total cost of $1.5 million, again excluding fees and taxes. Ex. D, AFF Daniel, ¶ 8

22.     If the Contract had not been terminated, the prices the City would have had to pay to

Plaintiff under the terms of the Contract were $ 1.7732 per gallon for regular gasoline and $ 1.9798

per gallon for the diesel.

23.     What austerity measures the City would have taken to conserve fuel if forced to buy at the

higher prices of is not known to any degree of certainty and would be pure speculation but it is

certain there were a wide spectrum of measures the City could have adopted ranging from


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shortening or even eliminating some bus routes, and reducing bus schedules and run times,

reduction in garbage pick ups, and so forth. Ex. C, ¶¶ 20-21.

24.     Due to the pandemic, the City purchased less fuel oil during contract period than the year

previous.

25.     For the full fiscal year 2021 COA saved $800,000, net of hedging costs, compared to what

it would’ve paid under the Davidson Oil agreement. Ex. D AFF. Daniel. ¶ 8

                                        III.   DISCUSSION

        A. THE LEGAL STANDARD FOR MOTIONS FOR SUMMARY JUDGMENT
        Rule 56(c) states in pertinent part that summary judgment “should be rendered if the

leadings, the discovery and disclosure materials on file, and any affidavits show that there is no

genuine issue as to any material fact and that the movant is entitled to judgment as a matter of

law.” Fed.R.Civ. P. 56(c)(2). The movant bears the initial burden of “show[ing] that there is an

absence of evidence to support the nonmoving party's case.” Bacchus Indus., Inc. v. Arvin Indus.,

Inc., 939 F.2d 887, 891 (10th Cir.1991) (internal quotation marks omitted); see Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986) (“Of course, a party seeking summary judgment always bears

the initial responsibility of informing the district court of the basis for its motion, and identifying

those portions of the [record], together with the affidavits, if any, which it believes demonstrate

the absence of a genuine issue of material fact.”) (internal quotation marks omitted). Once the

movant meets this burden, rule 56(e) requires the non-moving party to designate specific facts

showing that there is a genuine issue for trial. See Celotex Corp. v. Catrett, 477 U.S. at 324;

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 256 (1986); Vitkus v. Beatrice Co., 11 F.3d 1535,

1539 (10th Cir.1993)(“However, the nonmoving party may not rest on its pleadings but must set

forth specific facts showing that there is a genuine issue for trial as to those dispositive matters for

which it carries the burden of proof.”) (internal quotation marks omitted).

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   The party opposing a motion for summary judgment must “set forth specific facts showing that

there is a genuine issue for trial as to those dispositive matters for which it carries the burden of

proof.” Applied Genetics Int'l, Inc. v. First Affiliated Secs., Inc., 912 F.2d 1238, 1241 (10th

Cir.1990). Rule 56 provides that “an opposing party may not rely merely on allegations or denials

in its own pleading; rather, its response must—by affidavits or as otherwise provided in this rule—

set out specific facts showing a genuine issue for trial.” Fed.R.Civ.P. 56(e)(2). It is not enough for

the party opposing a properly supported motion for summary judgment to “rest on mere allegations

or denials of his [or her] pleadings.” Anderson v. Liberty Lobby, Inc., 477 U.S. at 256. See

Abercrombie v. City of Catoosa, 896 F.2d 1228, 1231 (10th Cir.1990); Otteson v. United States,

622 F.2d 516, 519 (10th Cir.1980) (“However, ‘once a properly supported summary judgment

motion is made, the opposing party may not rest on the allegations contained in his complaint, but

must respond with specific facts showing the existence of a genuine factual issue to be tried.’”

(citation omitted)). Nor can a party “avoid summary judgment by repeating conclusory opinions,

allegations unsupported by specific facts, or speculation.” Colony Nat'l Ins. Co. v. Omer, No. 07–

2123, 2008 WL 2309005, at *1 (D. Kan. June 2, 2008) (citing Fed.R.Civ.P. 56(e) and Argo v. Blue

Cross & Blue Shield of Kan., Inc., 452 F.3d 1193, 1199 (10th Cir.2006)). “In responding to a

motion for summary judgment, ‘a party cannot rest on ignorance of facts, on speculation, or on

suspicion and may not escape summary judgment in the mere hope that something will turn up at

trial.’” Colony Nat'l Ins. Co. v. Omer, 2008 WL 2309005, at *1 (quoting Conaway v. Smith, 853

F.2d 789, 794 (10th Cir.1988)

       Where a rational trier of fact, considering the record as a whole, could not find for the non-

moving party, there is no genuine issue for trial. See Matsushita Elec. Indus. Co. v. Zenith Radio

Corp., 475 U.S. 574, 587 (1986). A mere “scintilla” of evidence will not avoid summary judgment.


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Vitkus v. Beatrice Co., 11 F.3d at 1539. Rather, there must be sufficient evidence on which the

fact-finder could reasonably find for the nonmoving party. See Anderson v. Liberty Lobby, Inc.,

477 U.S. at 251 (quoting Schuylkill & Dauphin Improv. Co. v. Munson, 81 U.S. 442, 448 (1871));

Vitkus v. Beatrice Co., 11 F.3d at 1539. “[T]here is no evidence for trial unless there is sufficient

evidence favoring the nonmoving party for a jury to return a verdict for that party. If the evidence

is merely colorable ... or is not significantly probative, ... summary judgment may be granted .”

Anderson v. Liberty Lobby, Inc., 477 U.S. at 249 (internal citations omitted).


      B. THE COURT SHOULD DISMISS PLAINTIFF’S CLAIM FOR DIRECT OR
          GENERAL DAMAGES BECAUSE PLAINTIFF CANNOT PROVE SUCH
          DAMAGES UNDER THE TERMS OF THE CONTRACT TO THE REQUISITE
          DEGREE OF CERTAINTY THAT THE LAW REQUIRES
   Proving damages is a necessary element in a breach of contract claim. “Under New Mexico

law, ‘[t]he elements of a breach-of-contract action are the existence of the contract, breach of the

contract, causation, and damages.’ ” Anderson Living Tr. v. ConocoPhillips Co., LLC, 952 F.

Supp. 2d 979, 1030 (D.N.M. 2013) (quoting Abreu v. N.M. Children, Youth & Families Dep't, 797

F. Supp. 2d 1199, 1247 (D.N.M. 2011)) (emphasis added).


   The purpose of allowing damages for breach of contract is to restore to the injured party what

was lost by the breach and what he or she reasonably could have expected to gain had there been

no breach. Allen v. Allen Title Co., 1967-NMSC-113, 77 N.M. 796; Brown v. Newton, 1955-

NMSC-029, 59 N.M. 274. It is not the policy of the law to award damages which would put the

nonbreaching party to a contract in a better position than if the breaching party had carried out its

contract. G4S Technology LLC v. Massachusetts Technology Park Corporation, 479 Mass. 721,

99 N.E.3d 728 (2018). Breach of contract damages should be the amount that would place the

nonbreaching party in the position where it would have been but for the breach, no more and no


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less. Maness v. K & A Enterprises of Mississippi, LLC, 250 So. 3d 402 (Miss. 2018); see also,

Restatement Second, Contracts § 347. A plaintiff is not entitled to a windfall. Richard A. Lord,

Williston on Contracts § 64:1 at 7 (4th ed. 2009). The general rule of contract damages is that the

person who is injured is to be placed in the position he would have been in had the contract been

performed, but not in a better position. Therefore, Plaintiff may entitled to contract damages in an

amount equivalent to the difference between the benefits it actually received and those to which it

was due under the Contract—but no more. Blair v. U.S. for Use and Benefit of Gregory-Hogan,

150 F.2d 676, 678 (8th Cir. 1945) Ed S. Michelson, Inc. v. Nebraska Tire & Rubber Co., 63 F.2d

597, 601 (8th Cir. 1933); Spring Creek Exploration & Production Company, LLC v. Hess Bakken

Investment, II, LLC, 887 F.3d 1003, 1026, 100 Fed. R. Serv. 3d 840 (10th Cir. 2018), as revised,

(Apr. 13, 2018) (the root purpose of a contract remedy is to place the plaintiff-promisee in as good

a position as it would have occupied had the defendant-promisor not breached the contract);

Electrical Products Consol. v. Sweet, 83 F.2d 6, 9 (10th Cir. 1936).


   Thus, under the circumstances of present matter, the law requires the fact-finder to create an

alternative universe in which the City did not terminate the Contract and determine what would

have happened, i.e., what profits would the Plaintiff have made. It is not permitted to posit a

perfect universe in which there was no pandemic. The alternative universe must contain all the

facts and circumstance of the historical universe with one exception only, the City did not terminate

the Contract. In other words, how many gallons of fuel would the City have purchased from the

Plaintiff under the terms of the Contract? Take that number times the two (2) cents per gallon

profit Plaintiff claims it would have made, and you have the direct damages owed to Plaintiff.

Simple, right? Except the City under the Contract was not obligated to purchase any specific




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amount of fuel from Plaintiff. It is not known how many gallons of fuel the City would have

purchased from the Plaintiff, and any guess or estimate would be unlawful speculation.

         It is known how many gallons of fuel the City purchased from TAC during period covered

by Contract, but that was at prices far less than the Contract price. Common sense and basic

economic theory tells us the City would have purchased less fuel at the higher than Contract price,

but how much less? This can only be rationally calculated if the City price elasticity of demand

for fuel is known for the period in question.

    A good's price elasticity of demand (PED) is a measure of how sensitive the quantity demanded

of a product is to its price.2 When the price rises, quantity demanded falls for almost any good

including fuel.3 This can be shown with a simple diagram:




Plaintiff admits that the City’s PED, was not perfectly inelastic. “A market is elastic if demand

goes down as price goes up.” Telecor Communications, Inc. v. S.W. Bell Tel. Co., 305 F.3d 1124,

1131 (10th Cir. 2002). In the diagram, P2 would the TAC price, and P1 would the Contract price.

Q2 is the amount of fuel purchased from TAC, and Q1 would be the amount of fuel the City would

have purchased from Plaintiff at the Contract price. P1, P2, and Q2 are known. Q1 cannot be



2
  Many economics texts and articles describe the factors influencing the elasticity of demand for particular products
and services. See, e.g., McEachern, William A., Economics (4th edition); and Pindyck, Robert S. and Rubinfeld,
Daniel, L., Microeconomics (5th edition), Prentice Hall, Chapter 2 and Chapter 14.
3
  https://en.wikipedia.org/wiki/Price_elasticity_of_demand


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determined because the slope of the demand is not known. Plaintiff failed to conduct an economic

study to determine the City’s PED which can be thought of as the slope of demand curve. How

many gallons of fuel would the City have purchased from Plaintiff under the inflated prices of the

Contract in July of 2020? It is not known. The only thing that be said for certain is that the amount

would have been less than what the City purchased from TAC at a cheaper price during that same

period. How much less is pure speculation. Put in concrete terms, how many gallons of fuel would

the City have purchased from the Plaintiff in August of 2020, or September of 2020, or January of

2021? Who knows? One guess is as good as another. It could even be zero because the City was

not obligated to purchase exclusively from Plaintiff.

   Damages based on a “rough estimate” by a witness are insufficient to support a judgment.

Rather damages must be of a kind and character susceptible of proof, and the amount of damages

allowed must be subject to reasonable ascertainment and not based on speculation or guesswork.

Louis Lyster, Gen. Contractor, Inc. v. Town of Las Vegas, 1965-NMSC-097, 75 N.M. 427. Even

though the amount of damages need not be proven with mathematical certainty, Eccher v. Small

Bus. Admin., 643 F.2d 1388, 1392 (10th Cir. 1981), neither can it be based on surmise, conjecture,

or speculation. Camino Real Mobile Home Park P'ship v. Wolfe, 1995-NMSC-013, ¶ 32, 119

N.M. 436, overruled in part on other grounds, Sunnyland Farms v. Cent. N.M. Elec. Coop., Inc.,

2013-NMSC-017, 301 P.3d 387. Therefore, Plaintiff’s claim for damages in the form of lost

profits should be dismissed.




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       C. THE COURT SHOULD DISMISS PLAINTIFF’S OTHER CLAIMS FOR
           DAMAGES BECAUSE SUCH DAMAGES WERE NOT CONTEMPLATED OR
           ALLOWED OR FORESEEABLE AT THE TIME OF THE MAKING OF THE
           CONTRACT,        AND, IN ADDITION, PLAINTIFF CANNOT SHOW
           PROXIMATE CAUSE OF ITS LOSSES DUE TO THE TERMINATION OF
           THE CONTRACT
    The elements of damages must be the natural and foreseeable consequences of the breach, as

contemplated by the parties at the time of making the contract. State Farm Gen. Ins. Co. v. Clifton,

1974-NMSC-081, 86 N.M. 757; Mitchell v. Intermountain Cas. Co., 1961-NMSC-138, 69 N.M.

150. Plaintiff’s losses due to its hedge contracts was not contemplated at the time of the signing

of the Contract. In addition, those losses would have occurred even if the Contract had not been

terminated. Thus, Plaintiff cannot show that these unauthorized expenses were proximately caused

by the City’s termination of the Contract.


                                        IV.   CONCLUSION

        Since the Plaintiff will bear the burden of proof at trial on the essential element of damages,

the City can prevail merely by pointing out to the court that there is an absence of evidence to

support the Plaintiff’s case on the issue of damages . Based on the argument and authorities laid out

above, the Defendant City has met its burden, and so respectfully request that this court enter partial

summary judgment against Plaintiff Davidson Oil in the City’s favor. The only issue left would be

to determine if Plaintiff was due nominal damages.




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                                                     Respectfully submitted,

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                                CERTIFICATE OF SERVICE

I certify that on this 11th day of March 2022, I served a copy of the foregoing pleading to the
party listed below through the Court’s case management and electronic filing system (“CM-
ECF”).

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